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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

   STATE OF NEBRASKA, et al.,
                  Plaintiffs,
                                                  No. 4:22-cv-01040-HEA
      v.
   JOSEPH R. BIDEN, Jr., et al.,
                  Defendants.

                                   NOTICE OF APPEAL

       All Plaintiff States—Nebraska, Missouri, Arkansas, Iowa, Kansas, and South Carolina—

hereby appeal to the United States Court of Appeals for the Eighth Circuit from this Court’s

October 20, 2022 Opinion, Memorandum and Order, Doc. 44, and this Court’s October 20, 2022

Order of Dismissal, Doc. 46.




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Dated: October 20, 2022                       Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on October 20, 2022, a true and correct copy of the foregoing was filed

electronically using the Court’s CM/ECF system and, through that system, was served on counsel

for all parties.

                                                      /s/ James A. Campbell
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